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     SPECTRUM LABORATORIES, LLC
11
                                    UNITED STATES DISTRICT COURT
12                                   FOR THE DISTRICT OF NEVADA

13 AIM HIGH INVESTMENT GROUP,                          )       Case No.    2:22-cv-00158-GMN-DJA
     LLC,                                              )
14                                                     )       DECLARATION OF MATTHEW J.
                    Plaintiff/Counter-Defendant,       )
15                                                     )       CAVANAGH IN SUPPORT OF S&N’S
     v.                                                )       AND ELEMENT’S OPPOSITIONS TO
16                                                     )       AIM HIGH’S MOTION TO COMPEL
     SPECTRUM LABORATORIES, LLC                        )
17                                                     )
                    Defendant/Counterclaimant.         )
18                                                     )

19
              I, Matthew J. Cavanagh, declare as follows:
20
21            1.      I have personal knowledge of the facts stated herein and, if called as a witness,

22 could and would competently testify to them.
23            2.      I am a member at the Cleveland, Ohio, law offices of McDonald Hopkins LLC

24 (“McDonald Hopkins” or “MH”).
25            3.      I am licensed to practice law in the state of Ohio, before the United States District

26 Court for the Northern District of Ohio, before various other federal courts, before the United
27 States Patent and Trademark Office, and before this Court with pro hac vice permission.
28

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 1            4.    I am one of the attorneys representing Defendant/Counterclaimant Spectrum

 2 Laboratories, LLC and Non-Parties S&N Labs and Element Santa Fe Springs in this case.
 3            5.    I submit this declaration in support of S&N’s and Element’s oppositions to Plaintiff

 4 Aim High’s Motion to Compel Response to Subpoena Duces Tecum.
 5            6.    Prior to Aim High filing this lawsuit, I had several communications with Aim

 6 High’s counsel by email and phone. Relevant written communications between us are attached and
 7 are authenticated below.
 8            7.    Attached as Exhibit 1 is a true copy of an August 7, 2020 that I wrote to Aim High.

 9            8.    Attached as Exhibit 2 is a true copy of an August 13, 2020 email that Aim High’s

10 counsel sent to me.
11            9.    Attached as Exhibit 3 is a true copy of an August 14, 2020 email that Aim High’s

12 counsel sent to me.
13            10.   Attached as Exhibit 4 is a true copy of an August 28, 2020 letter that Aim High’s

14 counsel sent to me.
15            11.   Attached as Exhibit 5 is a true copy of a January 8, 2021 letter that I wrote to Aim

16 High’s counsel. This letter enclosed a redacted, single-page test result from S&N, which showed
17 that Aim High’s XStream product tested positive for CMIT and MIT, which are both isothiazolines
18 and thus both are biocides claimed by Spectrum’s ’776 and ’105 patents. My letter stated explicitly
19 that the test results were provided “confidentially and under FRE 408,” and made “without any
20 waiver of privilege or work product.” I provided those test results to try and settle the case and
21 avoid a lawsuit.
22            12.   Aim High never objected to me stating that the test results were provided without

23 waiver of privilege or work product, and it accepted the test results subject to that express
24 qualification.
25            13.   Attached as Exhibit 6 is a true copy of a January 22, 2021 letter that Aim High’s

26 counsel sent to me.
27            14.   Attached as Exhibit 7 is a true copy of an October 11, 2021 letter that I wrote to Aim

28 High’s counsel. This letter enclosed chemical testing of Aim High’s XStream product by Element.
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